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                 4                                 UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
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                 7    RYAN JOSEPH, et al.,                                   Case No. 2:18-CV-448 JCM (NJK)
                 8                                           Plaintiff(s),                     ORDER
                 9           v.
               10     THE BERKELEY GROUP, LLC, dba NV
                      JETS,
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                                                          Defendant(s).
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                             Presently before the court is the matter of Joseph et al v. Berkeley Group, LLC, case
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                      number 2:18-cv-00448-JCM-NJK. On August 8, 2020, the Ninth Circuit Court of Appeals
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                      reversed in part and vacated in part this court’s grant of NV Jets’ motion to dismiss and entry of
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                      judgment in its favor. (ECF No. 25).
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                             Since the Ninth Circuit’s mandate, this case has stagnated. The parties are instructed to
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                      file a status report within 7 days of this order addressing what remains to be done, or in the
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                      alternative, file the appropriate motions to help move this case to a resolution.
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                             Accordingly,
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                             IT IS SO ORDERED.
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                             DATED September 25, 2020.
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               24                                                    __________________________________________
                                                                     UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
